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14
                                 UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
16
                                    SAN FRANCISCO DIVISION
17
   IN RE: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-cv-05944-SC
18 ANTITRUST LITIGATION
                                                     MDL No. 1917
19
     This Document Related to:                       [PROPOSED] ORDER GRANTING
20                                                   DEFENDANT LG ELECTRONICS, INC.’S
     DIRECT PURCHASER ACTIONS                        MOTION FOR PARTIAL SUMMARY
21                                                   JUDGMENT ON WITHDRAWAL
                                                     GROUNDS
22
                                                     [Notice of Motion and Motion for Partial
23                                                   Summary Judgment, Declaration of
                                                     Cathleen H. Hartge and Declaration of Duk
24                                                   Chul Ryu filed concurrently herewith]
25                                                   Judge: Honorable Samuel Conti
                                                     Date: February 6, 2015
26                                                   Time: 10:00 a.m.
                                                     Crtrm.: 1, 17th Floor
27

28
                                                                Master File No. 3:07-cv-05944-SC
        [PROPOSED] ORDER GRANTING DEFENDANT LG ELECTRONICS, INC.’S MOTION FOR PARTIAL
                         SUMMARY JUDGMENT ON WITHDRAWAL GROUNDS
      Case 4:07-cv-05944-JST Document 3086-1 Filed 11/12/14 Page 2 of 2




 1          LG Electronics, Inc.’s Motion For Partial Summary Judgment on Withdrawal Grounds

 2 came on for hearing on February 6, 2015.

 3          Having read and considered all of the pleadings and documents filed in support of and in

 4 opposition to LG Electronics, Inc.’s motion, and having considered the arguments of counsel, the

 5
     Court hereby grants LG Electronics, Inc.’s motion.
 6
            IT IS SO ORDERED:
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 9 DATED:

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11

12                                                 Honorable Samuel Conti
13                                                 United States District Judge

14
     Submitted by:
15
     MUNGER, TOLLES & OLSON LLP
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18 By:       /s/ Hojoon Hwang
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   Inc., LG Electronics U.S.A., Inc., and LG
21 Electronics Taiwan Taipei Co., Ltd.

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28                                                               Master File No. 3:07-cv-05944-SC
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         [PROPOSED] ORDER GRANTING DEFENDANT LG ELECTRONICS, INC.’S MOTION FOR PARTIAL
                          SUMMARY JUDGMENT ON WITHDRAWAL GROUNDS
